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5
                           UNITED STATES DISTRICT COURT
6                         EASTERN DISTRICT OF WASHINGTON
7
      UNITED STATES OF AMERICA,              )
8                                            )     CR-08-088-RHW-2
                       Plaintiff,            )
9                                            )     ORDER GRANTING DEFENDANT’S
      v.                                     )     MOTION FOR RECONSIDERATION
10                                           )     AND SETTING CONDITIONS OF
      JABARI McCASKILL,                      )     RELEASE
11                                           )
                       Defendant.            )
12                                           )

13         At Defendant's July 25, 2008 hearing on Defendant’s Motion for

14   Reconsideration, Assistant U.S. Attorney Aine Ahmed appeared for the

15   United States.      Defendant was present with CJA counsel, Joseph

16   Nappi.     The Government did not oppose defendant’s release.

17         Based upon the proffer that the outstanding Warrant has been

18   resolved, the remarks from the Government, and the Pretrial Services

19   report, the court found that conditions of release can be set that

20   would assure defendant’s future appearance.

21         IT IS ORDERED the Motion for Reconsideration (Ct. Rec. 33) is

22   GRANTED.     Defendant shall be released, subject to the following

23   conditions:

24         1.     Defendant shall not commit any offense in violation of

25   federal, state or local law. Defendant shall advise his supervising

26   Pretrial Services Officer and his attorney within one business day

27   of any charge, arrest, or contact with law enforcement.

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     ORDER GRANTING DEFENDANT’S MOTION
     FOR RECONSIDERATION AND SETTING
     CONDITIONS OF RELEASE - 1
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1         2.     Defendant shall advise the court and the United States
2    attorney in writing before any change in address.
3         3.     Defendant shall appear at all proceedings as required and
4    shall surrender for service of any sentence imposed as directed.
5         4.     Defendant shall sign and complete form A.O. 199C before
6    being released and shall reside at the address furnished.
7         5.     Defendant    shall   remain     in   the    Eastern    District    of
8    Washington while the case is pending.
9         6.     Defendant shall not possess a firearm, destructive device
10   or other dangerous weapon.
11        7.     Defendant is further advised, pursuant to 18 U.S.C. §
12   922(n), it is unlawful for any person who is under indictment for a
13   crime punishable by imprisonment for a term exceeding one year to
14   ship or transport in interstate or foreign commerce any firearm or
15   ammunition or receive any firearm or ammunition which has been
16   shipped or transported in interstate or foreign commerce.
17        8.     Defendant shall refrain from the use of alcohol, and the
18   use or possession of a narcotic drug and other controlled substances
19   defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
20   practitioner. Defendant shall undergo a substance abuse evaluation,
21   as directed by a United States Probation Officer, and complete
22   treatment    indicated    by   the    evaluation.         Defendant    shall   be
23   responsible for the cost of testing, evaluation and treatment unless
24   the United States Probation Office should determine otherwise.                 The
25   United States Probation Office shall also determine the time and
26   place of testing and evaluation and the scope of treatment.                     If
27   random urinalysis testing is not done through a treatment program,
28
     ORDER GRANTING DEFENDANT’S MOTION
     FOR RECONSIDERATION AND SETTING
     CONDITIONS OF RELEASE - 2
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1    random    urinalysis     testing    shall     be    conducted    through     Pretrial
2    Services, and shall not exceed six (6) times per month.
3         9.     Defendant shall report to the United States Probation
4    Office before or immediately after his release and shall report as
5    often as they direct, at such times and in such manner as they
6    direct.    Defendant shall contact his attorney at least once a week.
7         10.    Defendant shall post a $10,000 corporate surety bond.
8         11.    Defendant shall have no contact with Marcus Dansby or any
9    known convicted felons.
10        12. Defendant shall remain on home detention, but is allowed to
11   be away from the home for legal matters, treatment, court-ordered
12   community service and up to two hours weekly for spiritual matters.
13   Defendant shall advise Pretrial Services of his schedule prior to
14   leaving the home.
15        Defendant is advised a violation of any of the foregoing
16   conditions of release may result in the immediate issuance of a
17   warrant for arrest, revocation of release and prosecution for
18   contempt of court, which could provide for imprisonment, a fine, or
19   both.     Specifically, Defendant is advised a separate offense is
20   committed   by   the    knowing     failure    to    appear     and   an   additional
21   sentence may be imposed for the commission of a crime while on
22   release.    In this regard, any sentence imposed for these violations
23   is consecutive to any other sentence.
24        IT IS FURTHER ORDERED that the United States Marshal shall keep
25   the Defendant in custody until notified by the District Court
26   Executive or judicial officer that the Defendant has posted bond
27   and/or    complied     with   all   other     conditions      for     release.   The
28
     ORDER GRANTING DEFENDANT’S MOTION
     FOR RECONSIDERATION AND SETTING
     CONDITIONS OF RELEASE - 3
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1    Defendant shall be produced before the appropriate judicial officer
2    at the time and place specified, if still in custody.
3         DATED July 25, 2008.
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                              s/ CYNTHIA IMBROGNO
6                        UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING DEFENDANT’S MOTION
     FOR RECONSIDERATION AND SETTING
     CONDITIONS OF RELEASE - 4
